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                     Exhibit 34
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                PMA cannot perform its functions if Palestinians are disincentivized from utilizing
                the banking system within the Palestinian Territories because of the risk that any party
                local or foreign, including any resident of Israel, could file a lawsuit, with or without
                merit, and request through discovery the production of banking records of
                Palestinians, regardless of substantive merit or relevance. The obvious effect,
                apparent lo anyone who is familiar with the actual conditions and circumstances in the
                Palestinian Territories, would be the flight of individual customers from the
                Palestinian banking system, with the residual impact on the ability of the P M A to
                regulate that system, including the Identification and interdiction of unauthorized or
                illegal monetary transactions. The PMA since its establishment played a vital role in
                setting foundations for a sound and transparent banking system in compliance with
                international laws and standards. It is determined to maintain and strengthen this
                sector under such international standards amongst them bank secrecy .
                 PMA is committed to the goal of achieving a banking system that is devoid of illegal
                 transactions, particularly those that are intended to support or contribute to violence or
                 terrorism. PMA is playing a critical role in enforcing anti-money laundering law and
                 anti-terrorism banking regulation in the West Bank and Gaza. If customers arc
                 discouraged from utilizing the banking system by events such as Your Honor's
                 issuing her July 12, 2010 Order, the impact on the banking system and the economy
                 in the Palestinian Territories will be dramatic, the means of eliminating illegal
                 banking activity will be thwarted, and the potential risk of that activity will be
                 elevated. I respectfully request that the Court reconsider its Order and the impact it
                 will have.
                 I am happy to answer any questions the Court might have regarding the foregoing or
                 the issues pending before the Court on the Arab Bank's motion for reconsideration.

                 Sincerely,



                 Dr. Jihad Khalil Al WE
                 Governor




                                                                                                              JA3824
